       Case 2:15-cv-01092-DGC Document 307 Filed 11/16/17 Page 1 of 4



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11 Plaintiffs’ Interim Co-Lead Counsel
12 [See Additional Counsel on Signature Page]
13
                        IN THE UNITED STATES DISTRICT COURT
14
                              FOR THE DISTRICT OF ARIZONA
15
   James Paul Mooney; and Lazy Coyote RV      CLASS ACTION
16 Village, LLC, on behalf of themselves and
   all others similarly situated,             LEAD CASE NO. 2:15-cv-01092-DGC
17
                                              (Consolidated with Case No. 2:15-cv-
18                Plaintiffs,                 01380-DGC)
19          v.                                   PLAINTIFFS’ NOTICE OF SERVICE
20                                               OF AMENDED DEPOSITION
     Union Pacific Railroad Company,             NOTICES
21   successor to Southern Pacific
     Transportation Company; SFPP, L.P.          Honorable David G. Campbell
22   (formerly known as Santa Fe Pacific
23   Pipelines, Inc., formerly known as
     Southern Pacific Pipelines, Inc.); Kinder
24   Morgan Operating L.P. “D”; and Kinder
     Morgan G.P., Inc.,
25
26                 Defendants.

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                            PLAINTIFFS’ NOTICE OF SERVICE
                           OF AMENDED DEPOSITION NOTICES
      Case 2:15-cv-01092-DGC Document 307 Filed 11/16/17 Page 2 of 4



 1        Pursuant to LRCiv 5.2, Plaintiffs James Paul Mooney and Lazy Coyote RV
 2 Village, LLC (“Plaintiffs”), file this Notice of Service of Amended Deposition Notices
 3 informing the Court that, on the 15th day of November 2017, Plaintiffs served the
 4 following amended deposition notices upon Defendants Union Pacific Railroad Company
 5 (formerly known as Southern Pacific Transportation Company), SFPP, L.P. (formerly
 6 known as Santa Fe Pacific Pipelines, Inc. and Southern Pacific Pipelines, Inc.), Kinder
 7 Morgan Operating L.P. “D”, and Kinder Morgan G.P., Inc., through their counsel of
 8 record:
 9             Amended Notice of Videotaped Deposition of Jeff Glasgow; and
10             Amended Notice of Videotaped Deposition of Union Pacific Railroad
11               Company Pursuant to Fed. R. Civ. P. 30(b)(6).
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                          PLAINTIFFS’ NOTICE OF SERVICE
                             OF DEPOSITION NOTICES
       Case 2:15-cv-01092-DGC Document 307 Filed 11/16/17 Page 3 of 4



 1
     Dated: November 16, 2017                      Respectfully Submitted,
 2
                                                   /s/ Barrett J. Vahle
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 4   Elizabeth G. McCulley                         Barrett J. Vahle (admitted pro hac vice)
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25                                                 khonecker@roselawgroup.com
26                              Additional Plaintiffs’ Counsel
27
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                                                 -3-
                          PLAINTIFFS’ NOTICE OF SERVICE
                             OF DEPOSITION NOTICES
       Case 2:15-cv-01092-DGC Document 307 Filed 11/16/17 Page 4 of 4



 1                                CERTIFICATE OF SERVICE
 2         I hereby certify that, on November 16, 2017, I electronically filed the above and
 3 foregoing with the Clerk of Court using the CM/ECF system, which transmitted notice of
 4 the filing to all counsel of record.
 5
 6                                        /s/ Barrett J. Vahle
                                          Barrett J. Vahle
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                             PLAINTIFFS’ NOTICE OF SERVICE
                                OF DEPOSITION NOTICES
